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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                             CORPUS CHRISTI DIVISION

RONNIE W. WATKINS AND                            §
TERESA H. WATKINS,                               §
                                                 §
       PLAINTIFFS,                               §
                                                 § CIVIL ACTION NO: 2-18-CV-00028
V.                                               §
                                                 §
UNION PACIFIC                                    §
RAILROAD COMPANY,                                §
                                                 §
       DEFENDANT.                                §

     AGREED MOTION FOR EXTENSION OF TIME TO DESIGNATE EXPERTS

       Plaintiffs Ronnie W. Watkins and Teresa H. Watkins (“Plaintiffs”) and Defendant Union

Pacific Railroad Company (“Union Pacific”) file this Agreed Motion for Extension of Time to

Designate Experts, and in support thereof, respectfully show the Court the following:

I.     The parties jointly request that the Court continue the expert designation deadlines
       in this matter.

       1.      The deadline for Plaintiffs to designate their experts is Friday, September 14,

2018. Union Pacific’s deadline is November 14, 2018.

       2.      The parties jointly request that the Court extend these expert designation

deadlines by one month each. Specifically, the parties request that Plaintiffs’ expert designation

deadline be extended to October 19, 2018, and that Union Pacific’s expert designation deadline

be extended to December 21, 2018.

       3.      This request will not affect any other dates in the Court’s scheduling order.

       4.      The purpose of this extension is not for delay, but so that justice may be done.
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II.         Conclusion

            For the foregoing reasons, Plaintiffs and Union Pacific respectfully pray that the Court

extend the expert designation deadlines as set forth herein.

                                                       Respectfully submitted,

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                                     Certificate of Service

       I certify that a true and correct copy of the foregoing motion was served on all parties of
record via e-mail on September 13, 2018.

                                                     /s/ Mukul S. Kelkar
                                                    Mukul S. Kelkar

Via E-Mail and E-File

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